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                         THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

  EXPRESS HOMEBUYERS USA,LLC,
       Plaintiff,
                                                        Case No. l:17-cv-736
           V.




  WBH MARKETING INC.,
         Defendant.



                                             ORDER


        For the reasons stated in the accompanying Memorandum Opinion ofeven date,

        It is hereby ORDERED that plaintiffs motion for summary judgment (Doc. 64) is

 GRANTED as to Counts I and II ofthe First Amended Complaint.

        It is further ORDERED that plaintiffs motion for summary judgment is GRANTED IN

 PART as to Counts I, II and IV of the First Amended Counterclaims and held in abeyance as to

 Counts III, V, VI, VII, VIII and IX ofthe First Amended Counterclaims.

        It is further ORDERED that defendant's cross-motion for summaryjudgment(Doc. 82)is

 DENIED as to Counts I and II ofthe First Amended Complaint.

        It is further ORDERED that defendant's cross-motion for summaryjudgment is DENIED

 IN PART as to Count I of the First Amended Counterclaim and held in abeyance as to Counts

 VIII and IX ofthe First Amended Counterclaims.

        It is further ORDERED that plaintiffs pending motion to dismiss (Doc. 60) is held in

 abeyance as to Counts III, VIII and IX of the First Amended Counterclaims.




        The Clerk is directed to send a copy ofthis Order to all counsel of record.
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